
9 N.Y.2d 795 (1961)
Genesee Valley Union Trust Company, as Trustee under the Will of Max Russer, Deceased, Respondent,
v.
State of New York, Appellant. (Claim No. 35874.)
Court of Appeals of the State of New York.
Argued March 23, 1961.
Decided March 30, 1961.
Louis J. Lefkowitz, Attorney-General (Julius L. Sackman and Paxton Blair of counsel), for appellant.
Daniel F. Fitzgerald, Jr., for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD. FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Judgment affirmed, with costs; no opinion.
